                                                     Case 18-15891-LMI                               Doc 72                                Filed 08/14/18                  Page 1 of 3




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        UNITED STATES BANKRUPTCY COURT
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          SOUTHERN DISTRICT OF FLORIDA                                                                                                                                                                            US POSTAGE
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               Case 18-15891-LMI        Doc 65      Filed 08/01/18     Page 1 of 2




ORDERED in the Southern District of Florida on July 31, 2018.




                                               Lau el M. lsicoff
                                               Chi f United States Bankruptcy Judge




                       UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION


 INRE:                                                    CASE NO.: 18-15891-LMI

 MAURICE SYMONETTE                                        CHAPTER: 7

       DEBTOR.
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                                ORDER CONFIRMING
                      THERE IS NO AUTOMATIC STAY IN EFFECT

   THIS CAUSE came before the Court at a hearing on July 31, 2018 at 10:55 a.m. upon the
E_mergency Supplemental Motion for Annulment of the Automatic Stay Nunc Pro Tunc (DE #51)
filed HSBC Bank USA, National Association as Trustee for Nomura Home Equity Loan, Inc.,
AssetBacked Certificates, Series 2007-1 (the "Creditor") on July 23, 2018. The Court, having
reviewed the docket in this case, including the transcript ofthe hearing on June 22, 2018, a hearing
at which both the Debtor and the Creditor were present,
   ORDERS AS FOLLOWS:
1. The Court repeats and confirms what it told the Debtor and the Creditor at the hearing on June
   22 - because the Debtor had a prior bankruptcy case pending within one year prior to this case
   the automatic stay in this case expired on June 15, 2018.
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.,......             Case 18-15891-LMI        Doc 72         Filed 08/14/18    Page 3 of 3
                      Case 18-15891-LMI        Doc 65        Filed 08/01/18   Page 2 of 2


2. The Debtor, Maurice Symonette, filed for bankruptcy on May 16, 2018. Because the Debtor
           failed to file and have a hearing on a Motion to Extend the Automatic Stay within the thirty
           days required by the Bankruptcy Code, the automatic stay terminated and THERE IS NO
           AUTOMATIC STAY IN EFFECT.
3. As a result the title owner (Creditor) has full right of possession in relation to the property
           located at 10290 SW 58th Street Miami, Florida 33173, and may proceed with any and all
           remedies to recover possession of the property.
 4. The property is more particularly described as:

                :.                        I                    il     J             .             .
    MILLER !>RIVE ESTATES, Pfl 46·37, Lot IRREGULAR, Block , Nt/2 OF Wl/2 of TR 23 of public record,
    acco rdin g to l:he map th ereof 1U r ecor ded In public reoo rd of M la ni i-Oatlc Cqunty, Florl<l1l
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 5.         The Court will hear the Movant' s Motion For Annulment of the Automatic Stay and Request
           for Dismissal on August 8, 2018 at 3:00p.m ..


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Attorney, Jeffrey S. Fraser, Esq. shall serve a copy of the signed order on all required parties
and file a certificate of service as required under Local Rule 2002-l(F).

COPY FURNISHED TO:
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Attorney for Secured Creditor
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Telephone: (813) 221-4743 ext. 2018
Facsimile: (813) 221-9171
bktl@albertelli law.com




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